                     Case 12-20140-jkf                         Doc 1           Filed 10/30/12 Entered 10/30/12 15:52:18                                                    Desc Main
B1 (Official Form 1)(12/11)
                                                                               Document      Page 1 of 60
                                                  United States Bankruptcy Court
                                                      Eastern District of Pennsylvania                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Nova Financial Holdings, Inc.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  FKA Berkshire Financial Holdings, Inc.



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  1235 Westlakes Avenue
  Suite 420
  Berwyn, PA                                                                               ZIP Code                                                                                        ZIP Code
                                                                                         19312
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Chester
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
               Case 12-20140-jkf                   Doc 1        Filed 10/30/12 Entered 10/30/12 15:52:18                                         Desc Main
B1 (Official Form 1)(12/11)
                                                                Document      Page 2 of 60                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Nova Financial Holdings, Inc.
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(12/11)
                                                                  Document      Page 3 of 60                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Nova Financial Holdings, Inc.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Morton R. Branzburg (PA Bar
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Morton R. Branzburg (PA Bar 22477)                                                       debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Klehr Harrison Harvey Branzburg
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1835 Market Street
      Suite 1400                                                                               Social-Security number (If the bankrutpcy petition preparer is not
      Philadelphia, PA 19103                                                                   an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                          Email: mbranzburg@klehr.com
      215-569-3007 Fax: 215-568-6603
     Telephone Number
     October 30, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ Brian M. Hartline
     Signature of Authorized Individual
      Brian M. Hartline                                                                        If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      President and CEO                                                                        A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.
      October 30, 2012
     Date
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Case 12-20140-jkf   Doc 1   Filed 10/30/12 Entered 10/30/12 15:52:18   Desc Main
                            Document      Page 5 of 60
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                                                                   Document      Page 6 of 60
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re          Nova Financial Holdings, Inc.                                                              Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             5                 252,107.00


C - Property Claimed as Exempt                            No              0


D - Creditors Holding Secured Claims                      Yes             1                                               0.00


E - Creditors Holding Unsecured                           Yes             1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             16                                    14,079,713.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          No              0                                                                        N/A
    Debtor(s)

J - Current Expenditures of Individual                    No              0                                                                        N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                26


                                                                    Total Assets            252,107.00


                                                                                     Total Liabilities          14,079,713.00




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re           Nova Financial Holdings, Inc.                                                               Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                             Chapter                      7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)

             Student Loan Obligations (from Schedule F)

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)

                                                                            TOTAL


             State the following:

             Average Income (from Schedule I, Line 16)


             Average Expenses (from Schedule J, Line 18)

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column

             4. Total from Schedule F


             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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 In re         Nova Financial Holdings, Inc.                                                              Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Nova Financial Holdings, Inc.                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Money Market Account, Nova Bank                                   -                        4,342.00
      accounts, certificates of deposit, or               1235 Westlakes Ave., Suite 420
      shares in banks, savings and loan,                  Berwyn, PA 19312
      thrift, building and loan, and                      Account No. 39100011
      homestead associations, or credit
      unions, brokerage houses, or                        Checking Account, Nova Bank                                       -                           524.00
      cooperatives.                                       1235 Westlakes Ave., Suite 420
                                                          Berwyn, PA 19312
                                                          Account No. 37001229

                                                          NAVAID Brokerage Account                                          -                      99,741.00
                                                          1522 Locust Street, 2nd Floor
                                                          Philadelphia, PA 19312
                                                          Account No. 59035168

3.    Security deposits with public                       Retainer:                                                         -                    100,000.00
      utilities, telephone companies,                     Fox Rothschild
      landlords, and others.                              2000 Market Street, 20th Floor
                                                          Philadelphia, PA 19103
                                                          *Retainer pursuant to debtor's obligation to
                                                          indemnify officers and directors
                                                          (Value Estimated)

4.    Household goods and furnishings,                X
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                X

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.


                                                                                                                            Sub-Total >        204,607.00
                                                                                                                (Total of this page)

  4    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Nova Financial Holdings, Inc.                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

9.    Interests in insurance policies.                    AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
      Name insurance company of each                      Policy No. CPP 0002486
      policy and itemize surrender or                     Commercial Package: Blanket Bldg. & Personal
      refund value of each.                               Property (all properties)
                                                                              Blanket Bus. Income
                                                                              Mortgagee E&O

                                                          Chubb Group Insurance Companies - Great                           -                      Unknown
                                                          Northern Insurance Companies
                                                          Policy No. 9947-72-96 FPO
                                                          Foreign Package (Worker's Comp)

                                                          AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
                                                          Policy No. WCV 0012392
                                                          Worker's Compensation-NJ

                                                          AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
                                                          Policy No. WCV 0011664
                                                          Worker's Compensation-PA

                                                          AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
                                                          Policy No. UMB 0012081
                                                          Umbrella Policy

                                                          AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
                                                          Policy No. PLI 0012429
                                                          Professional Liability

                                                          ACE USA - ACE Professional Risk                                   -                      Unknown
                                                          Policy No. EON G23663557 003
                                                          Cyber Insurance

                                                          AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
                                                          Policy No. KRE 0012192
                                                          Crime

                                                          AmTrust North America (formerly BancInsure, Inc.)                 -                      Unknown
                                                          Policy No. FIB 0012394
                                                          Fidelity Bond

                                                          American Modern Home Insurance Company                            -                      Unknown
                                                          Pol. No. BM-37-3625-79200
                                                          Commercial Property

                                                          American Modern Home Insurance Company                            -                      Unknown
                                                          Pol. No. BL-37-3625-79200
                                                          General Liability




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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 In re         Nova Financial Holdings, Inc.                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          Financial and Professional Risk Solutions, Inc.,                  -                      Unknown
                                                          Insurmark Division
                                                          Pol. No. FLD006541
                                                          Flood

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   3% Equity Interest in Nova Capital Trust I (310                   -                              0.00
    and unincorporated businesses.                        common shares)
    Itemize.                                              Book Value: $310,000 FMV $0.00

                                                          NOVA Bank, 1,200 outstanding shares of 100,000                    -                              0.00
                                                          authorized shares
                                                          Book Value: $0.00

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  Interest Due from Nova Capital Trust I for common                 -                              0.00
                                                          shares
                                                          Book Value $119,490
                                                          All interest payments have been deferred - FMV
                                                          $0.00

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                 Prepaid Federal Tax                                               -                      47,500.00
    including tax refunds. Give particulars.




                                                                                                                            Sub-Total >          47,500.00
                                                                                                                (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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 In re         Nova Financial Holdings, Inc.                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Counterclaims/Third-Party Claims/Cross-Claims                     -                      Unknown
    claims of every nature, including                     asserted in Weiss et al. v. Nova Financial Holdings,
    tax refunds, counterclaims of the                     Case No. 11-cv-5336-EL at Doc. No. 43 (E.D. Pa.
    debtor, and rights to setoff claims.                  Aug. 29, 2012)[now consolidated with Case No.
    Give estimated value of each.                         11-cv-02604-EL (E.D. Pa.)] for: (1) fraudulent
                                                          misrepresentation; (2) negligent
                                                          misrepresentation; (3) indemnification/contribution

                                                          Third-Party counterclaim asserted in Hisey et al. v.              -                      Unknown
                                                          Nova Financial Holdings, Case No. 11-cv-02604-EL
                                                          at Doc. No. 53 (E.D.PA. Aug. 29, 2012) [now
                                                          consolidated with Case No. 11-cv-5336-EL
                                                          (E.D.PA.)] against Dan Vagnozzi for (1) fraudulent
                                                          misrepresentation; (2) negligent
                                                          misrepresentation; (3) unjust enrichment; (4)
                                                          indemnification/contribution

                                                          NOVA Financial Holdings, Inc. and NOVA Bank v.                    -                      Unknown
                                                          First American Title Insurance Company
                                                          U.S.D.C., E.D.Pa. Case No. 12-cv-05087-JCJ

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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 In re         Nova Financial Holdings, Inc.                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >       252,107.00
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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  In re        Nova Financial Holdings, Inc.                                                                              Case No.
                                                                                                            ,
                                                                                            Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                       C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                           O                                                              O    N   I
                                                       D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                          E                                                              T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                         B   W               NATURE OF LIEN, AND                        I    Q   U                             PORTION, IF
                                                       T   J              DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                           O                                                              G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                           C                   OF PROPERTY
                                                       R
                                                                              SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
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Account No.                                                                                                                E
                                                                                                                           D




                                                               Value $
Account No.




                                                               Value $
Account No.




                                                               Value $
Account No.




                                                               Value $
                                                                                                                   Subtotal
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_____ continuation sheets attached
                                                                                                        (Total of this page)
                                                                                                                    Total                        0.00                      0.00
                                                                                          (Report on Summary of Schedules)

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 In re         Nova Financial Holdings, Inc.                                                                                      Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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  In re         Nova Financial Holdings, Inc.                                                                            Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                   Claims Asserted                                               T   T
                                                                                                                                                E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                               D

Albert Neiberg
c/o Keith E. Smith, Esquire                                               -                                                                 X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th St., 22nd Floor
                                                                                                                                                                      Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. Case No. 2:11-cv-04762
Anthony J. Bonomo
c/o Michael S. Hino, Pepper Hamilton                                      -                                                                 X X X
400 Berwyn Park
899 Cassatt Road
Berwyn, PA 19312                                                                                                                                                      Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Ballamor Capital Management
c/o Matthew A. Taylor, Esquire                                            -                                                                 X X X
Duane Morris LLP
30 S. 17th Street
Philadelphia, PA 19103                                                                                                                                                Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Barbara Curran
c/o Justin E. Proper, Esquire                                             -                                                                 X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                                Unknown

                                                                                                                                        Subtotal
 15 continuation sheets attached
_____                                                                                                                                                                        0.00
                                                                                                                              (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Trust Preferred Securities Issued by Nova               E
                                                                              Capital Trust I                                         D

Barbara Mitchell
Two The Vista                                                             -                                                       X
Middletown, NJ 07748

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Barry R. Bekkedam
c/o Matthew A. Taylor                                                     -                                                       X X X
Duane Morris, LLP
30 South 17th Street
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Benedict Foundation for Independent
Scho                                                                      -                                                       X
524 Bay Drive
Vero Beach, FL 32963
                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Brent J. and Judy V. Ware
30 Kinnie Road                                                            -                                                       X
Franklin, TN 37069

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Brian Zubatch
c/o Keith E. Smith                                                        -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
           1
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Brighton Management Group, LLC
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
C. Edward and Billie F. Carlisle
104 North Bayview Street                                                  -                                                       X
Fairhope, AL 36532-2505

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
C. Scott Hisey
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market St. Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Carol Gammarino
Justin E. Proper, Esquire                                                 -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Chester Romano
143 Grange Avenue                                                         -                                                       X
Fair Haven, NJ 07704

                                                                                                                                                         Unknown

           2
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
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Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Christa Vagnozzi                                                              (Plaintiff and Counter-Defendant)
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Chuck Uplinger
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Cindy Stein
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Cindy Veverka
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., S.D.Fla. Case No.
Cooper Management Co. LLC                                                     9:11-cv-81311
c/o Andrew Steven Kwan, Esquire                                           -                                                       X X X
7523 Sally Lyn Lane
Lake Worth, FL 33467
                                                                                                                                                         Unknown

           3
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
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                 (See instructions above.)                           R                                                            E   D   D
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Account No.                                                                   Claims Asserted                                         E
                                                                              Montgomery Co. C.C.P. No. 2011-16474                    D

Cooper Management Co., LLC
c/o Steven M. Coren, Esquire                                              -                                                       X X X
Kaufman, Coren & Reiss, P.C.
1717 Arch St., Suite 3710
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Craig Veverka
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
D.W.M. Incorporated
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th St., 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
David Crastnopol
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Dean Knauss
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown

           4
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Dean Vagnozzi                                                                 (Plaintiff and Counter-Defendant)
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Donald Curry
c/o Keith E. Smith                                                        -                                                       X X X
Eckert, Seamans, Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Donald S. Travis
9 Stonewood Parkway                                                       -                                                       X
Verona, NJ 07044

                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Donna Scharer
4775 Collins Avenue                                                       -                                                       X
No. 1601
Miami Beach, FL 33140
                                                                                                                                                         Unknown
Account No.                                                                   Notice Only

FDIC
350 5th Avenue                                                            -
Suite 1200
New York, NY 10118-0110
                                                                                                                                                                0.00

           5
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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Account No.                                                                   Notice Only                                             E
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Federal Reserve Bank of Philadelphia
Ten Independence Mall                                                     -
Philadelphia, PA 19106

                                                                                                                                                                0.00
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Fetter Living Family Trust
173737 Noel Road                                                          -                                                       X
Suite 100
Dallas, TX 75240
                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Frederick Rosen
136 Abbey Drive                                                           -                                                       X
Royersford, PA 19468

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
George Rymar
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Gerald Nave
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown

           6
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Herbert Weiss
c/o Brendan Ruddy, Esquire                                                -                                                       X X X
Eckert, Seamans, Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., S.D.Fla. Case No.
Hilary G. Musser                                                              9:11-cv-81311
c/o David Dormont                                                         -                                                       X X X
Kaufman, Coren & Ress, PC
1717 Arch St., Suite 3710
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              Montgomery Co. C.C.P. No. 2011-16474
Hilary G. Musser
c/o Steven M Coren, Esquire                                               -                                                       X X X
Kaufman, Coren & Ress PC
1717 Arch Street, Suite 3710
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., S.D.Fla. Case No.
Hilary G. Musser Alpha Trust                                                  9:11-cv-81311
Christiana Bank & Trust Co., Trustee                                      -                                                       X X X
c/o Andrew Steven Kwan
7523 Sally Lyn Lane
Lake Worth, FL 33467                                                                                                                                     Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
J. Frank and Susan B. Adams
128 South Shore                                                           -                                                       X
Hilton Head Island, SC 29928

                                                                                                                                                         Unknown

           7
Sheet no. _____     15 sheets attached to Schedule of
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
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                                                                                                                                  N   A
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Account No.                                                                   Trust Preferred Securities Issued by Nova               E
                                                                              Capital Trust I                                         D

J. Paul Rowe
4 Carriage Way                                                            -                                                       X
Berwyn, PA 19312

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Joe Stein
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
John Bendokas
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
John Harkins
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
John McNally
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown

           8
Sheet no. _____     15 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

John Roshelli
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Joseph Forman
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert, Seamans, Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Joseph Schirmer
c/o Keith Smith                                                           -                                                       X X X
Eckert, Seamans, Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Katrina Kilgallon
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Ken Gawason
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown

           9
Sheet no. _____     15 sheets attached to Schedule of
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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                  CREDITOR'S NAME,                                   O                                                            O   N   I
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Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., S.D.Fla. Case No.                             D

Lefteen Realty Trust                                                          9:11-cv-81311
Hilary Grinker Musser, Trustee                                            -                                                       X X X
c/o Andrew Steven Kwan
7523 Sally Lyn Lane
Lake Worth, FL 33467                                                                                                                                     Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Lester Clippinger, Jr.
1554 Paoli Pike                                                           -                                                       X
No. 307
West Chester, PA 19380
                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Linda D. Bedell
309 KAABC                                                                 -                                                       X
Aspen, CO 81611

                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Linda D. Reed
99 Dickinson Road                                                         -                                                       X
Wayne, PA 19087

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Lisa Knauss
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown

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Sheet no. _____    15 sheets attached to Schedule of                                                                            Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Maria Cacia
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Marianne Harkins
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Martha Snider
8500 Flourtown Avenue                                                     -                                                       X
Glenside, PA 19038

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. Case No. 2:11-cv-04762
Mary Ellen Bonomo
c/o Michael S. Hino, Pepper Hamilton                                      -                                                       X X X
400 Berwyn Park
899 Cassatt Road
Berwyn, PA 19312                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Michael A. Orndorff
1390 Harmonyville Road                                                    -                                                       X
Pottstown, PA 19465

                                                                                                                                                         Unknown

           11 of _____
Sheet no. _____    15 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                                                                    Document      Page 28 of 60
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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Michael Kilgallon
c/o Justin E. Proper, Esquire                                             -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Nova Bank
c/o Michael Menkowitz                                                     -                                                       X X X
Fox Rothschild O'Brien & Frankel
2000 Market Street, 20th Floor
Philadelphia, PA 19103-3291                                                                                                                              Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Royal Bank America
732 Montgomery Avenue                                                     -                                                       X
Narberth, PA 19072

                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Salvatore Fiore
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Seravelli Financial Group, Inc. PSP
10059 Sandmeyer Lane                                                      -                                                       X
Philadelphia, PA 19116

                                                                                                                                                         Unknown

           12 of _____
Sheet no. _____    15 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                                                                    Document      Page 29 of 60
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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
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Account No.                                                                   Claims Asserted                                         E
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604                     D

Stephan Gammarino
c/o Justin Proper, Esquire                                                -                                                       X X X
White & Williams
1650 Market Street, Suite 1800
Philadelphia, PA 19103-7395                                                                                                                              Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Stephen Huesser
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Sycuan Children's Trust
3007 Dehesa Road                                                          -                                                       X
El Cajon, CA 92019

                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
Terry A. Woodward
855 Collegeville Road                                                     -                                                       X
Collegeville, PA 19426

                                                                                                                                                         Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
The McFadzean 1998 Trust
1601 Cloverfield Blvd.                                                    -                                                       X
North Tower, Suite 5000
Santa Monica, CA 90404
                                                                                                                                                         Unknown

           13 of _____
Sheet no. _____    15 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
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Account No.                                                                   Trust Preferred Securities Issued by Nova               E
                                                                              Capital Trust I                                         D

The Peter D. Benedict Revocable
Trust                                                                     -                                                       X
524 Bay Drive
Vero Beach, FL 32963
                                                                                                                                                         Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Theodore Kilkuskie
c/o Keith E. Smith, Esquire                                               -                                                       X X X
Eckert Seamans Cherin & Mellott,
LLC
50 S. 16th Street, 22nd Floor
                                                                                                                                                         Unknown
Philadelphia, PA 19102
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Timothy Curran
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Claims Asserted
                                                                              U.S.D.C., E.D.Pa. No. 2:11-cv-02604
Tracy McNally
c/o Justin E. Proper, Esquire                                             -                                                       X X X
White & Williams, LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103                                                                                                                                   Unknown
Account No.                                                                   Notice Only

U.S. Securities and Exchange
Commission                                                                -
NE Regional Office
Woolworth Building
233 Broadway
                                                                                                                                                                0.00
New York, NY 10279-0001
           14 of _____
Sheet no. _____    15 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Nova Financial Holdings, Inc.                                                                            Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
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                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No.                                                                   Trust Preferred Securities Issued by Nova                      E
                                                                              Capital Trust I                                                D

Veronica L. Bekkedam
23 Harrison Drive                                                         -                                                              X
Newtown Square, PA 19073

                                                                                                                                                                Unknown
Account No.                                                                   Trust Preferred Securities Issued by Nova
                                                                              Capital Trust I
William J. and Linda K. Clark Spink
296 Sunset Hollow Road                                                    -                                                              X
West Chester, PA 19380

                                                                                                                                                                Unknown
Account No.                                                                   Outstanding Interest Owed

Wilmington Trust Co., as Trustee for
Nova Capital Trust I                                                      -
c/o Corporate Trust Administration
1100 North Market Street
Wilmington, DE 19890                                                                                                                                       4,079,713.00
Account No.                                                                   Trust Preferred Securities Issued by
                                                                              Nova Capital Trust I
Wilmington Trust Co., as Trustee for
Nova Capital Trust I                                                      -                                                              X
c/o Corporate Trust Administration
1100 North Market Street
Wilmington, DE 19890                                                                                                                                            Unknown
Account No.                                                                   Debenture
                                                                              Nova Capital Trust I
Wilmington Trust Co., Trustee for
Nova Capital Trust I                                                      -
c/o Corporate Trust Administration
1100 North Market Street
Wilmington, DE 19890                                                                                                                                     10,000,000.00

           15 of _____
Sheet no. _____    15 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                         14,079,713.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)          14,079,713.00


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B6G (Official Form 6G) (12/07)


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 In re             Nova Financial Holdings, Inc.                                                               Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Brian Hartline                                                      Employment Contract
                    36 Windward Court
                    Collegeville, PA 19426

                    Contract with 401(k) Plan Administrator                             401(k) contract related to Nova Bank
                    1235 Westlakes Avenue
                    Suite 420
                    Berwyn, PA 19312

                    Nova Bank                                                           June 23, 2010 Service Agreement
                    1235 Westlakes Drive
                    Suite 420
                    Berwyn, PA 19312

                    NOVA Bank                                                           Tax Allocation Agreement dated November 19,
                    1235 Westlakes Avenue                                               2008
                    Suite 420
                    Berwyn, PA 19312

                    Nova Financial Services, Inc.                                       Tax Allocation Agreement dated November 19,
                    1235 Westlakes Avenue                                               2008
                    Suite 420
                    Berwyn, PA 19312




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                                                   Document      Page 33 of 60
B6H (Official Form 6H) (12/07)


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 In re          Nova Financial Holdings, Inc.                                                           Case No.
                                                                                              ,
                                                                               Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR

                 Nova Capital Trust I                                             Wilmington Trust Co. as Trustee for
                 1235 Westlakes Avenue                                            Nova Capital Trust I
                 Suite 420                                                        c/o Corporate Trust Administration
                 Berwyn, PA 19312                                                 1100 North Market Street
                                                                                  Wilmington, DE 19890




      0
              continuation sheets attached to Schedule of Codebtors
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                               Document      Page 34 of 60
                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re      Nova Financial Holdings, Inc.                                                                  Case No.
                                                                                   Debtor(s)               Chapter    7



                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                      I, the President and CEO of the corporation named as debtor in this case, declare under penalty of perjury
            that I have read the foregoing summary and schedules, consisting of 28 sheets, and that they are true and
            correct to the best of my knowledge, information, and belief.




 Date October 30, 2012                                                 Signature   /s/ Brian M. Hartline
                                                                                   Brian M. Hartline
                                                                                   President and CEO

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re       Nova Financial Holdings, Inc.                                                                   Case No.
                                                                              Debtor(s)                      Chapter       7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                            DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor.
11 U.S.C. § 101.


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                           SOURCE
                          $1,318.00                        YTD 2012 - interest on money market and/or checking accounts

               2. Income other than from employment or operation of business
    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                           SOURCE
                          $38,947.00                       Annual December 31, 2011 - interest income from investment savings &
                                                           checking accounts


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                                                                                                                                                           2

                        AMOUNT                             SOURCE
                        $76,609.00                         Annual December 31, 2010 - interest income from investment savings &
                                                           checking accounts

              3. Payments to creditors
     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that
              were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
              approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
              payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS                                                   DATES OF                                                      AMOUNT STILL
       OF CREDITOR                                                     PAYMENTS                            AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                AMOUNT
                                                                       DATES OF                                  PAID OR
                                                                       PAYMENTS/                               VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                       TRANSFERS                              TRANSFERS                OWING
    NOVA Bank                                                          September 30, 2012                     $35,280.75                 $0.00
    1235 Westlakes Dr.
    Suite 420
    Berwyn, PA 19312
    NOVA Bank                                                          September 30, 2012                       $5,977.80                     $0.00
    1235 Westlakes Drive
    Suite 420
    Berwyn, PA 19312
    NOVA Bank                                                          September 30, 2012*                      $1,491.67                     $0.00
    1235 Westlakes Drive                                               *NOVA Financial Holdings
    Suite 410                                                          is obligated to pay this
    Berwyn, PA 19312                                                   monthly amount to NOVA
                                                                       Bank under the Services
                                                                       Agreement
    NOVA Bank                                                          August 31 2012                           $1,491.67                     $0.00
    1235 Westlakes Dr.
    Suite 420
    Berwyn, PA 19312
    NOVA Bank                                                          July 31, 2012                            $1,491.67                     $0.00
    1235 Westlakes Dr.
    Suite 420
    Berwyn, PA 19312
    Gregory FCA Communications                                         October 12, 2012                        $10,000.00                     $0.00
    27 West Athens Avenue
    Ardmore, PA 19003

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
              of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                    3


NAME AND ADDRESS OF CREDITOR AND                                                                               AMOUNT STILL
       RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT       AMOUNT PAID         OWING
NOVA Bank                                                              October 6, 2011         $92,622.49          $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              October 18, 2011        $34,076.61              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              November 1, 2011         $2,349.06              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              November 4, 2011         $4,125.00              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              November 4, 2011        $14,916.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              November 21, 2011        $7,134.29              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              November 21, 2011        $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              December 2, 2011         $3,866.12              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              December 2, 2011        $11,839.17              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              December 16, 2011        $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              January 27, 2012         $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary


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NAME AND ADDRESS OF CREDITOR AND                                                                               AMOUNT STILL
       RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT       AMOUNT PAID         OWING
NOVA Bank                                                              February 29, 2012       $1,491.67           $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              March 22, 2012           $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              April 30, 2012           $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              May 25, 2012             $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              June 26, 2012            $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              July 27, 2012            $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              August 28, 2012          $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              September 26, 2012       $1,491.67              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              September 27, 2012       $5,977.80              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary
NOVA Bank                                                              September 28, 2012      $35,280.75              $0.00
1235 Westlakes Ave.
Suite 420
Berwyn, PA 19312
   subsidiary




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             4. Suits and administrative proceedings, executions, garnishments and attachments
   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
             of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                    NATURE OF                             COURT OR AGENCY                               STATUS OR
AND CASE NUMBER                                    PROCEEDING                            AND LOCATION                                  DISPOSITION
C. Scott Hisey, et al. v. Nova Financial Holdings, stockholders                          U.S.D.C., E.D.Pa                              pending
Inc, at al.                                        suit                                  Philadelphia, PA
2:11-cv-02604-EL Consolidated with
2:11-cv-5336-EL
Anthony J. Bonomo and Mary Ellen Bonomo v.                             securities/comm U.S.D.C., E.D.Pa.                               pending
Nova Financial Holdings, Inc. and NOVA Bank                            odities         Philadelphia, PA
2:11-cv-04762 (GP)
Herbert Weiss, et al. v. Nova Financial Holdings,                                        U.S.D.C., E.D.Pa.                             pending
et al.                                                                                   Philadelphia, PA
11-cv-05336
Hilary G. Musser and Cooper Management Co.,                                              Court of Common Pleas of                      pending
LLC v. Nova Bank f/k/a Nova Savings Bank,                                                Montomgery Co., PA
Nova Financial Holdings, Inc. and Edward
DiMarcantonio
No. 2011-16474
NOVA Bank v. Hilary Grinker Musser, et al.                             Contract dispute U.S.D.C., S.D.Fla.                             Stayed
9:11-cv-81311-KLR                                                                       West Palm Beach, FL
Nova Financial Holdings, Inc. and NOVA Bank v.                                           U.S.D.C., E.D.Pa.                             Settled/Dismi
Bankinsure, Inc.                                                                         Philadelphia, PA                              ssed
No. 2:11-cv-07840
Nova Financial Holdings, Inc. and NOVA Bank v                                            U.S.D.C., E.D.Pa.                             pending
First American Title Insurance Co.                                                       Philadelphia, PA
2:12-cv-05087-JCJ

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

             5. Repossessions, foreclosures and returns
   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
             12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
             the spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY

             6. Assignments and receiverships
   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                              DATE OF
NAME AND ADDRESS OF ASSIGNEE                                  ASSIGNMENT                       TERMS OF ASSIGNMENT OR SETTLEMENT



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   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                       DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                 ORDER                    PROPERTY

             7. Gifts
   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                          DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                   DATE OF GIFT            VALUE OF GIFT

             8. Losses
   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                   DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy
   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
             immediately preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                      OR DESCRIPTION AND VALUE
    OF PAYEE                                                                THAN DEBTOR                                   OF PROPERTY
Klehr Harrison Harvey Branzburg                                        September 28, 2012                         $75,000.00
1835 Market Street
Suite 1400
Philadelphia, PA 19103

             10. Other transfers
   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                             DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                        AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                      AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)          IN PROPERTY




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             11. Closed financial accounts
   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
             must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
             filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE                         OR CLOSING

             12. Safe deposit boxes
   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                     DESCRIPTION                  DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                     OF CONTENTS                   SURRENDER, IF ANY

             13. Setoffs
   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person
   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY         LOCATION OF PROPERTY
USAB Shareholder Escrow Account                       Escrow account for former shareholders of NOVA Bank Account No. 37005717
1235 Westlakes Dr.                                    USABancshares.com, Inc. in the amount of
Suite 420                                             $38,054.00.
Berwyn, PA 19312

             15. Prior address of debtor
   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

             16. Spouses and Former Spouses
   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
             Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
             the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
             debtor in the community property state.

NAME




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             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
             to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
             liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
             if known, the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business
   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
             and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
             partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
             six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
             equity securities within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
             six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
             six years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                              BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                       NATURE OF BUSINESS              ENDING DATES
NOVA Bank                       XX-XXXXXXX                       1235 Westlakes Dr.            Pennsylvania State              May 1887* - current
                                                                 Suite 420                     Savings Bank                    (Debtor's
                                                                 Berwyn, PA 19312                                              relationship began
                                                                                                                               October 31, 2002)
Nova Capital Trust I            XX-XXXXXXX                       1235 Westlakes Dr.            Delaware Business               September 1998* -
                                                                 Suite 420                     Trust                           current (Debtor's
                                                                 Berwyn, PA 19312                                              relationship began
                                                                                                                               October 31, 2002)


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   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements
   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED
Lisa Schmoke                                                                                            June 2007
1235 Westlakes Dr.
Suite 420
Berwyn, PA 19312

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
             books of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                 DATES SERVICES RENDERED
KPMG, LLP                                       1601 Market Street                                      2002 through 2012
                                                Philadelphia, PA 19103

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
             records of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                ADDRESS
NOVA Bank                                                                           1235 Westlakes Dr.
                                                                                    Suite 420
                                                                                    Berwyn, PA 19312
Cheryl Kim Hartline                                                                 c/o Nova Financial Holdings, Inc.
                                                                                    1235 Westlakes Drive, Suite 420
                                                                                    Berwyn, PA 19312

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
             was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                             DATE ISSUED

             20. Inventories
   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                        DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)




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   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                  NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                                 RECORDS

             21 . Current Partners, Officers, Directors and Shareholders
   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                           PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                        NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                            OF STOCK OWNERSHIP
Brian Hartline                                                         President/Director               controls 2.2%
36 Windward Court
Collegeville, PA 19426
Edward DiMarcantonio                                                   Assistant Secretary/Director     controls 0.5%
528 Arbordale Road
Wayne, PA 19087
Wayne Oliver Leevy                                                     Director                         controls 0.2%
507 N. Latch's Lane
Merion Station, PA 19066
Thomas W. Martell                                                      Director                         controls 1.4%
345 Reading Blvd.
Reading, PA 19610
Cheryl Kim Hartline                                                    Secretary                        0.3%*
36 Windward Court                                                                                       *not including stock jointly owned with
Collegeville, PA 19426                                                                                  Brian Hartline
Lisa L. Schmoke                                                        Treasurer                        0.0%
133 Azalea Circle
Royersford, PA 19468
Robert J. Smik                                                         Vice President                   0.4%
791 Midway Lane
Blue Bell, PA 19422
David E. Dietrich                                                      Vice President                   controls 0.2%
1629 Colony Drive
Reading, PA 19610
Anthony J. Bonomo and Mary Ellen Bonomo                                shareholders                     7.6%
10 Walter Lane
Manhasset, NY 11030-1652
Glenn/TKG Holdings LLLP                                                shareholder                      6.0%
c/o Thomas K. Glenn
42 Lenox Point
Atlanta, GA 30324
George G. Levin                                                        shareholder                      15.0%
100 Bay Colony Lane
Fort Lauderdale, FL 33308
Physicians Reciprocal Insurers PRI                                     shareholder                      6.8%
1800 Northern Blvd.
Roslyn, NY 11576-1140




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             22 . Former partners, officers, directors and shareholders
   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                         DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                                   DATE OF TERMINATION
Jeffrey Hanuscin                                                       Vice President                          October 17, 2011
2406 Sanibel Circle
Palmyra, NJ 08065

             23 . Withdrawals from a partnership or distributions by a corporation
   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
             compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
             preceding the commencement of this case.

NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                     OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                        VALUE OF PROPERTY

             24. Tax Consolidation Group.
   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)
Nova Financial Holdings, Inc.                                                                             XX-XXXXXXX

             25. Pension Funds.
   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
             an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)


          DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


Date October 30, 2012                                                  Signature   /s/ Brian M. Hartline
                                                                                   Brian M. Hartline
                                                                                   President and CEO

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re       Nova Financial Holdings, Inc.                                                                   Case No.
                                                                             Debtor(s)                       Chapter      7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                75,000.00
             Prior to the filing of this statement I have received                                       $                75,000.00
             Balance Due                                                                                 $                       0.00

2.    The source of the compensation paid to me was:
                 Debtor               Other (specify):

3.    The source of compensation to be paid to me is:
                 Debtor               Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                       CERTIFICATION

     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       October 30, 2012                                                /s/ Morton R. Branzburg (PA Bar
                                                                             Morton R. Branzburg (PA Bar 22477)
                                                                             Klehr Harrison Harvey Branzburg
                                                                             1835 Market Street
                                                                             Suite 1400
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                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re     Nova Financial Holdings, Inc.                                                                 Case No.
                                                                                  Debtor(s)              Chapter    7




                                           VERIFICATION OF CREDITOR MATRIX


I, the President and CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:       October 30, 2012                                           /s/ Brian M. Hartline
                                                                       Brian M. Hartline/President and CEO
                                                                       Signer/Title




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                         Albert Neiberg
                         c/o Keith E. Smith, Esquire
                         Eckert Seamans Cherin & Mellott, LLC
                         50 S. 16th St., 22nd Floor
                         Philadelphia, PA 19102



                         Anthony and Mary Ellen Bonomo
                         c/o Triton Capital Management, LLC
                         Attn: Henry Lervolino
                         232 Trumbull Road
                         Manhasset, NY 11030



                         Anthony and Mary Ellen Bonomo
                         c/o Todd Howard
                         33 Sugar Ridge Lane
                         Malvern, PA 19355



                         Anthony J. Bonomo
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                         899 Cassatt Road
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                         Ballamor Capital Management
                         c/o Matthew A. Taylor, Esquire
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                         30 S. 17th Street
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                         Barbara Mitchell
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                         Middletown, NJ 07748
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                     Barry R. Bekkedam
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                     Franklin, TN 37069



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                     Collegeville, PA 19426



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                     Contract with 401(k) Plan Administrator
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                     Suite 420
                     Berwyn, PA 19312
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                     c/o Andrew Steven Kwan, Esquire
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                     NOVA Bank
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                     North Tower, Suite 5000
                     Santa Monica, CA 90404



                     The Peter D. Benedict Revocable Trust
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                     West Chester, PA 19380



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                     Nova Capital Trust I
                     c/o Corporate Trust Administration
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                     Wilmington, DE 19890



                     Wilmington Trust Co., as Trustee for
                     Nova Capital Trust I
                     c/o Corporate Trust Administration
                     1100 North Market Street
                     Wilmington, DE 19890



                     Wilmington Trust Co., Trustee for
                     Nova Capital Trust I
                     c/o Corporate Trust Administration
                     1100 North Market Street
                     Wilmington, DE 19890
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                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re     Nova Financial Holdings, Inc.                                                                Case No.
                                                                              Debtor(s)                 Chapter    7




                                        CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Nova Financial Holdings, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



   None [Check if applicable]




October 30, 2012                                                   /s/ Morton R. Branzburg (PA Bar
Date                                                               Morton R. Branzburg (PA Bar 22477)
                                                                   Signature of Attorney or Litigant
                                                                   Counsel for Nova Financial Holdings, Inc.
                                                                   Klehr Harrison Harvey Branzburg
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